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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ________________________________________
                                                    )
 FATMA MAROUF AND BRYN ESPLIN,                      )
 a married couple,                                  )
                                                    )
                                                    )
                                                    )
                            Plaintiffs,             )
                                                    )
                             v.                     )    Case No. 1:18-cv-378 (APM)
                                                    )
 XAVIER BECERRA, in his official capacity as        )
 Secretary of the UNITED STATES                     )
 DEPARTMENT OF HEALTH AND HUMAN                     )
 SERVICES, et al.,
                                          )
                            Defendants.   )
                                          )
 ________________________________________ )


                                   JOINT STATUS REPORT

       Plaintiffs Fatma Marouf and Bryn Esplin, together with Defendants United States

Department of Health and Human Services (“HHS”), Administration for Children and Families

(“ACF”), Office of Refugee Resettlement (“ORR”), Xavier Becerra, in his official capacity as

Secretary of HHS, JooYeun Chang, in her official capacity as Acting Assistant Secretary for ACF,

and Cindy Huang, in her official capacity as the Director of ORR, and United States Conference

of Catholic Bishops (together the “Parties”), file this joint status report. The Parties state as

follows:

       1.       On August 6, 2021, the Court ordered the Parties to propose a schedule for further

proceedings in this matter. See Minute Order, August 6, 2021.

       2.       The Parties respectfully request that the Court order the following briefing

schedule:




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                 a. The Parties’ Motions for Summary Judgment shall be filed on or before

                      November 19, 2021;

                 b. The Parties shall file Responses in Opposition to Summary Judgment on or

                      before January 18, 2022;

                 c. The Parties shall file a Reply, if any, within 21 days after service of any

                      Response in Opposition to Summary Judgment.



Dated: August 20, 2021                            Respectfully submitted,

/s/ David T. Raimer                               /s/ Michael A. Burns
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                                             Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of August, 2021, I electronically filed the foregoing

document with the Clerk of the Court via the CM/ECF System, which will send notification of the

filing to all counsel of record in this matter.
                                                      /s/ Michael A. Burns
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 Secretary of the UNITED STATES                     )
 DEPARTMENT OF HEALTH AND HUMAN                     )
 SERVICES, et al.,
                                          )
                            Defendants.   )
                                          )
 ________________________________________ )


                                     [PROPOSED] ORDER

      Upon consideration of the Parties’ August 20, 2021, Joint Status Report, it is hereby

ORDERED that the report is ADOPTED. The Court orders the following:

      I.       The Parties’ Motions for Summary Judgment shall be filed on or before

               November 19, 2021.

      II.      The Parties shall file Responses in Opposition to Summary Judgment on or before

               January 18, 2022.

      III.     The Parties shall file a Reply, if any, within 21 days after service of any Response

               in Opposition to Summary Judgment.


Dated: ________________                              _________________________
                                                     Amit P. Mehta
                                                     United States District Judge




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